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                                    UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                    Case No. 19-cr-04431-W-1

                                               Plaintiff,
                           vs.
                                                                    JUDGMENT OF DISMISSAL
Jenna Lee Jaffari,


                                            Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has
☐
       granted the motion of the Government for dismissal of this case, without prejudice; or
☐      the Court has dismissed the case for unnecessary delay; or

☒      the Court has granted the motion of the Government for dismissal, with prejudice; or

☐      the Court has granted the motion of the defendant for a judgment of acquittal; or

☐      a jury has been waived, and the Court has found the defendant not guilty; or

☐      the jury has returned its verdict, finding the defendant not guilty;

☒      of the offense(s) as charged in the Indictment/Information:
       8:1324(a)(2)(B)(iii); 18:2 - Bringing in Aliens Without Presentation; Aiding and Abetting(1)




Dated: 11/4/2020
                                                              Hon. Jill L. Burkhardt
                                                              United States Magistrate Judge
